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   UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF WASHINGTON
                                AT TACOMA



JO ANNA LANG,                                     JUDGMENT IN A CIVIL CASE

                      Plaintiff,                  CASE NO. 3:20-cv-05057-BHS
       v.

STATE OF WASHINGTON, et al,

                      Defendant.



    Jury Verdict. This action came before the Court for a trial by jury. The issues have been
    tried and the jury has rendered its verdict.

    Decision by Court. This action came to consideration before the Court. The issues have
    been considered and a decision has been rendered.

    The Court does hereby find and ORDER as follows:

       Judgment is for defendants.

    Dated this 19 day of November, 2020.

                                           William M. McCool
                                           Clerk

                                           s/Gayle M. Riekena
                                           Deputy Clerk
